Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 1 of 9 PageID #: 592
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 2 of 9 PageID #: 593
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 3 of 9 PageID #: 594
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 4 of 9 PageID #: 595
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 5 of 9 PageID #: 596
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 6 of 9 PageID #: 597
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 7 of 9 PageID #: 598
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 8 of 9 PageID #: 599
Case 3:25-cv-00288   Document 71   Filed 05/05/25   Page 9 of 9 PageID #: 600
